Case 24-70057 Document 67 Filed in TXSB on 06/27/24 Page 1 of 5
                       Case 24-70057 Document 67 Filed in TXSB on 06/27/24 Page 2 of 5
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 24-70057-evr
Rosa M. Barrera                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-7                                                  User: ADIuser                                                               Page 1 of 4
Date Rcvd: Jun 25, 2024                                               Form ID: pdf001                                                           Total Noticed: 61
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 27, 2024:
Recip ID                   Recipient Name and Address
db                    +    Rosa M. Barrera, 1708 Angelina Drive, Apartment # 1, San Juan, TX 78589-2074
cr                    +    Texas Regional Bank, as Custodian for Jon Gillespi, 1801 S McColl Rd, McAllen, TX 78503-1520
12649386              +    2500 N McColl Apartments, Attention: Manager, 2500 N McColl Rd, Mcallen, TX 78501-0027
12649387             ++    ALDOUS & ASSOCIATES, PO BOX 171374, HOLLADAY UT 84117-1374 address filed with court:, Aldous and Associates, PLLC,
                           Attn: Bankruptcy, PO Box 171374, Holladay, UT 84117
12649388               +   Arabel Leal, 105 Palmview Dr. C, Mission, TX 78572-8784
12649389                   Automart, 1521 I-2 W, Mission, TX 78572
12649391               +   Brenda Flores, 3211 Ozuna st, Penitas, TX 78576-8458
12695982               +   CS Automart LTD - Automart II, Automart II, 1309 E. Expressway 83, McAllen, TX 78501-1116
12649392               +   Cielo Islas, 235 Western View Dr., Mission, TX 78572-7951
12677052                   Csautomart, 1521 I-2 W, Mission, TX 78572
12649394               +   Dagne & Melissa Cantu, 2790 Pharmacy Road, Rio Grande City, TX 78582-6546
12649395               +   Dana Castelvecchi, 2901 Dallas Parkway 250, Plano, TX 75093-5980
12649402               +   Israel & Amy Martinez, 739 Huisach St., La Joya, TX 78560-4104
12649403               +   Israel & Amy Martinez, 6924 Japonica St, Houston, TX 77087-1636
12677067               +   JM Loan Management Services, LLC, 2614 W. Freddy Gonzalez Dr., Edinburg, TX 78539-7351
12692308               +   Joana N Zarate, 120 La Nina St, Sullivan City, TX 78595-2118
12649405               +   Joana Zarate, 3214 Coconino Dr., San Antonio, TX 78211-4523
12649406               +   Joel Leal, 105 Palmview Dr. C, Mission, TX 78572-8784
12677070               +   Karina Benavides, 1708 Angelina Dr., San Juan, TX 78589-2074
12649407               +   Karina Gonzalez, 2009 West Mile 3 Rd. 500, Mission, TX 78573-4296
12649408               +   La Joya ISD, 201 E. Expressway 83, La Joya, TX 78560-4001
12649409                   Laurencio Barrera, 1709 Azalea St, Mission, TX 78573-9299
12677074                   Law Office of Kurt Stephen, PLLC, 00 South Bicentennial, Mcallen, TX 78501
12649410               +   Lewis Pena Falcon & Cook, c/o Sandra G. Falcon, Attorney, 3111 W. Freddy Gonzalez Drive, Edinburg, TX 78539-8897
12691443               +   Maria Elma Garcia, 816 Pike St., Penitas, TX 78576-4100
12649412               +   Mirna Flores, 205 Minerva Rd., Palmview, TX 78572-7397
12677077                   Mirna Flores Pedraza, 5001 E. Jasmine, Mcallen, TX 78501
12677078               +   Nalleli Barrera, 915 Tierra Linda Circle West, Mission, TX 78572-5584
12649413               +   Nayra Solis, PO Box 714, Sullivan City, TX 78595-0714
12677080               +   Rio Grande Poultry, 4100 W Ursula Ave, Mcallen, TX 78503-9007
12649418               +   Texas Regional Bank, as custodian for Jon Gillespi, 2614 W Freddy Gonzalez Drive,, Edinburg, TX 78539-7351

TOTAL: 31

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: edinburgbankruptcy@pbfcm.com
                                                                                        Jun 25 2024 20:07:00      City of Penitas, c/o Hiram Gutierrez, 2805
                                                                                                                  Fountain Plaza Blvd., Suite B, Edinburg, Tx
                                                                                                                  78539-8031
cr                     + Email/Text: bncmail@w-legal.com
                                                                                        Jun 25 2024 20:07:00      Scolopax, LLC, c/o Weinstein & Riley, PS, 1415
                                                                                                                  Western Avenue, Ste 700, SEATTLE, WA
                                                                                                                  98101-2051
                 Case 24-70057 Document 67 Filed in TXSB on 06/27/24 Page 3 of 5
District/off: 0541-7                                           User: ADIuser                                                    Page 2 of 4
Date Rcvd: Jun 25, 2024                                        Form ID: pdf001                                                Total Noticed: 61
12649387           Email/Text: cs@aldouslegal.com
                                                                           Jun 25 2024 20:07:00   Aldous and Associates, PLLC, Attn: Bankruptcy,
                                                                                                  PO Box 171374, Holladay, UT 84117
12649390           Email/Text: courtdocs@bakerassociates.net
                                                                           Jun 25 2024 20:07:00   Baker & Associates, 950 Echo Lane 300, Houston,
                                                                                                  TX 77024
12654228         + Email/Text: edinburgbankruptcy@pbfcm.com
                                                                           Jun 25 2024 20:07:00   City of Penitas, c/o Hiram Gutierrez, Perdue,
                                                                                                  Brandon, Fielder, Collins & Mott, 2805 Fountain
                                                                                                  Plaza Blvd., Ste. B, Edinburg Tx. 78539-8031
12649393         + Email/Text: bankruptcy@curo.com
                                                                           Jun 25 2024 20:08:00   Cvgtn Tx0026, Po Box 1947, Greenville, SC
                                                                                                  29602-1947
12649396         ^ MEBN
                                                                           Jun 25 2024 20:02:33   DSRM Nat Bank/Valero, Attn: Bankruptcy, PO
                                                                                                  Box 696000, San Antonio, TX 78269-6000
12654976         + Email/Text: Loan.Recovery@frostbank.com
                                                                           Jun 25 2024 20:06:00   FROST BANK, ATTN: BANKRUPTCY DEPT.
                                                                                                  T-7, PO BOX 1600, SAN ANTONIO TX
                                                                                                  78296-1600
12677057           Email/PDF: ais.fpc.ebn@aisinfo.com
                                                                           Jun 25 2024 20:05:40   First Premier, 601 S Minneapolis Ave, Sioux Falls,
                                                                                                  SD 57104
12649397         + Email/Text: famc-bk@1stassociates.com
                                                                           Jun 25 2024 20:07:00   Firstacces, Po Box 85710, Sioux Falls, SD
                                                                                                  57118-5710
12649398           Email/PDF: ais.fpc.ebn@aisinfo.com
                                                                           Jun 25 2024 20:17:25   Fst Premier, 601 S Minneapolis Ave, Sioux Falls,
                                                                                                  SD 57104
12652929         + Email/Text: Austin.Bankruptcy@lgbs.com
                                                                           Jun 25 2024 20:07:00   Hidalgo County, c/o Diane W. Sanders, Linebarger
                                                                                                  Goggan Blair & Sampson, LLP, P.O. Box 17428,
                                                                                                  Austin, TX 78760-7428
12649399           Email/Text: Austin.Bankruptcy@lgbs.com
                                                                           Jun 25 2024 20:07:00   Hidalgo County Tax Office, c/o Diane W. Sanders,
                                                                                                  Linebarger Goggan Blair & Sampson, LLP, PO
                                                                                                  Box 17428, Austin, TX 78760-7428
12653445           Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                           Jun 25 2024 20:07:00   INTERNAL REVENUE SERVICE, P O Box
                                                                                                  7346, Philadelphia PA 19101-7346
12691356         ^ MEBN
                                                                           Jun 25 2024 20:02:48   Independent Bankersbank, c/o Creditors
                                                                                                  Bankruptcy Service, P.O. Box 800849, Dallas, TX
                                                                                                  75380-0849
12670498         + Email/Text: gbechakas@outlook.com
                                                                           Jun 25 2024 20:06:00   Intercoastal Financial Llc, 7954 Transit Rd #136X,
                                                                                                  Williamsville, NY 14221-4117
12677061         + Email/Text: gbechakas@outlook.com
                                                                           Jun 25 2024 20:06:00   Intercoastal Financial, LLC, 7954 Transit Road ,
                                                                                                  #144, Buffalo, NY 14221-4117
12676452           Email/Text: JCAP_BNC_Notices@jcap.com
                                                                           Jun 25 2024 20:07:00   Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                  Saint Cloud MN 56302-9617
12649404           Email/Text: JCAP_BNC_Notices@jcap.com
                                                                           Jun 25 2024 20:07:00   Jefferson Capital Systems, LLC, 16 McLeland
                                                                                                  Road, Saint Cloud, MN 56303
12654060           Email/PDF: resurgentbknotifications@resurgent.com
                                                                           Jun 25 2024 20:05:47   LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                  PO Box 10587, Greenville, SC 29603-0587
12649411         + Email/PDF: resurgentbknotifications@resurgent.com
                                                                           Jun 25 2024 20:05:33   Lvnv Funding/Resurgent Capital, Attn:
                                                                                                  Bankruptcy, PO Box 10497, Greenville, SC
                                                                                                  29603-0497
12649414           Email/Text: compliance@sarma.com
                                                                           Jun 25 2024 20:06:00   Sarma Coll, Attn: Bankruptcy, 555 E Ramsey Rd,
                                                                                                  San Antonio, TX 78216
12649416           Email/Text: bankruptcy@springoakscapital.com
                                                                           Jun 25 2024 20:06:00   Spring Oaks Capital, Llc, Attn: Bankruptcy, P.O.
                                                                                                  Box 1216, Chesapeake, VA 23327-1216
12649417         + Email/Text: bankruptcy@sw-credit.com
                                                                           Jun 25 2024 20:07:00   SWC Group, 4120 International Parkway #100,
                                                                                                  Carrollton, TX 75007-1957
12711209         + Email/Text: bncmail@w-legal.com
                                                                           Jun 25 2024 20:07:00   Scolopax, LLC, C/O Weinstein & Riley, P.S.,
                                                                                                  1415 WESTERN AVE, SUITE 700, SEATTLE,
                                                                                                  WA 98101-2051
                     Case 24-70057 Document 67 Filed in TXSB on 06/27/24 Page 4 of 5
District/off: 0541-7                                               User: ADIuser                                                           Page 3 of 4
Date Rcvd: Jun 25, 2024                                            Form ID: pdf001                                                       Total Noticed: 61
12649415              + Email/Text: dl-csgbankruptcy@charter.com
                                                                                   Jun 25 2024 20:08:00      Spectrum, PO Box 60074, City of Industry, CA
                                                                                                             91716-0074
12682240                 Email/Text: bankruptcy@springoakscapital.com
                                                                                   Jun 25 2024 20:06:00      Spring Oaks Capital SPV, LLC, P O Box 1216,
                                                                                                             Chesapeake, VA. 23327-1216
12649419              + Email/Text: bankruptcyfilings@tib.bank
                                                                                   Jun 25 2024 20:07:00      Tib Okla, Po Box 569100, Dallas, TX 75356-9100
12649420                 Email/Text: bankruptcies@uplift.com
                                                                                   Jun 25 2024 20:06:00      Uplift, Inc., 801 El Camino Real, Menlo Park, CA
                                                                                                             94025
12649421                 Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                   Jun 25 2024 20:05:38      Walmart Credit Services/Capital One, Attn:
                                                                                                             Bankruptcy, PO Box 30285, Salt Lake City, UT
                                                                                                             84130-0285
12649422              + Email/Text: bk@worldacceptance.com
                                                                                   Jun 25 2024 20:07:25      World Finance Corp, 114 Farquhar Suite 104,
                                                                                                             Navasota, TX 77868-3687

TOTAL: 31


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr                            Hidalgo County
12677045        *+            2500 N McColl Apartments, Attention: Manager, 2500 N McColl Rd, Mcallen, TX 78501-0027
12677046        *P++          ALDOUS & ASSOCIATES, PO BOX 171374, HOLLADAY UT 84117-1374, address filed with court:, Aldous and Associates,
                              PLLC, Attn: Bankruptcy, PO Box 171374, Holladay, UT 84117
12677047        *+            Arabel Leal, 105 Palmview Dr. C, Mission, TX 78572-8784
12677048        *P++          BAKER & ASSOCIATES, ATTN REESE BAKER, 950 ECHO LANE SUITE 300, HOUSTON TX 77024-2824, address filed
                              with court:, Baker & Associates, 950 Echo Lane 300, Houston, TX 77024
12677049        *+            Brenda Flores, 3211 Ozuna st, Penitas, TX 78576-8458
12677050        *+            Cielo Islas, 235 Western View Dr., Mission, TX 78572-7951
12677051        *+            City of Penitas, c/o Hiram Gutierrez, Perdue, Brandon, Fielder, Collins & Mott, 2805 Fountain Plaza Blvd., Ste. B, Edinburg, TX
                              78539-8031
12677053        *+            Cvgtn Tx0026, Po Box 1947, Greenville, SC 29602-1947
12677056        *+            DSRM Nat Bank/Valero, Attn: Bankruptcy, PO Box 696000, San Antonio, TX 78269-6000
12677054        *+            Dagne & Melissa Cantu, 2790 Pharmacy Road, Rio Grande City, TX 78582-6546
12677055        *+            Dana Castelvecchi, 2901 Dallas Parkway 250, Plano, TX 75093-5980
12677058        *+            Firstacces, Po Box 85710, Sioux Falls, SD 57118-5710
12677059        *+            Frost Bank, Attn: Bankruptcy Dept. T-7, PO Box 1600, San Antonio, TX 78296-1600
12677060        *             Hidalgo County Tax Office, c/o Diane W. Sanders, Linebarger Goggan Blair & Sampson, LLP, PO Box 17428, Austin, TX
                              78760-7428
12649401        *P++          INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                              19101-7346, address filed with court:, Internal Revenue Service, 300 E 8th Stop 5026 AUS, Austin, TX 78701
12677063        *P++          INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                              19101-7346, address filed with court:, Internal Revenue Service, 300 E 8th Stop 5026 AUS, Austin, TX 78701
12649400        *P++          INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                              19101-7346, address filed with court:, Internal Revenue Service, P.O.Box 21126, Philadelphia, PA 19114-1294
12677062        *P++          INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                              19101-7346, address filed with court:, Internal Revenue Service, P.O.Box 21126, Philadelphia, PA 19114-1294
12677064        *+            Israel & Amy Martinez, 739 Huisach St., La Joya, TX 78560-4104
12677065        *+            Israel & Amy Martinez, 6924 Japonica St, Houston, TX 77087-1636
12677066        *P++          JEFFERSON CAPITAL SYSTEMS LLC, PO BOX 7999, SAINT CLOUD MN 56302-7999, address filed with court:, Jefferson
                              Capital Systems, LLC, 16 McLeland Road, Saint Cloud, MN 56303
12677068        *+            Joana Zarate, 3214 Coconino Dr., San Antonio, TX 78211-4523
12677069        *+            Joel Leal, 105 Palmview Dr. C, Mission, TX 78572-8784
12677071        *+            Karina Gonzalez, 2009 West Mile 3 Rd. 500, Mission, TX 78573-4296
12677072        *+            La Joya ISD, 201 E. Expressway 83, La Joya, TX 78560-4001
12677073        *             Laurencio Barrera, 1709 Azalea St, Mission, TX 78573-9299
12677075        *+            Lewis Pena Falcon & Cook, c/o Sandra G. Falcon, Attorney, 3111 W. Freddy Gonzalez Drive, Edinburg, TX 78539-8897
12677076        *+            Lvnv Funding/Resurgent Capital, Attn: Bankruptcy, PO Box 10497, Greenville, SC 29603-0497
12677079        *+            Nayra Solis, PO Box 714, Sullivan City, TX 78595-0714
12677081        *P++          SARMA COLLECTIONS INC, ATTN ANGELA RODRIGUEZ, 555 E RAMSEY, SAN ANTONIO TX 78216-4640, address
                              filed with court:, Sarma Coll, Attn: Bankruptcy, 555 E Ramsey Rd, San Antonio, TX 78216
12677083        *P++          SPRING OAKS CAPITAL LLC, 1400 CROSSWAYS BLVD STE 100B, CHESAPEAKE VA 23320-0207, address filed with
                              court:, Spring Oaks Capital, Llc, Attn: Bankruptcy, P.O. Box 1216, Chesapeake, VA 23327-1216
                       Case 24-70057 Document 67 Filed in TXSB on 06/27/24 Page 5 of 5
District/off: 0541-7                                               User: ADIuser                                                         Page 4 of 4
Date Rcvd: Jun 25, 2024                                            Form ID: pdf001                                                     Total Noticed: 61
12677084        *+               SWC Group, 4120 International Parkway #100, Carrollton, TX 75007-1957
12677082        *+               Spectrum, PO Box 60074, City of Industry, CA 91716-0074
12677085        *+               Texas Regional Bank, as custodian for Jon Gillespi, 2614 W Freddy Gonzalez Drive,, Edinburg, TX 78539-7351
12677086        *+               Tib Okla, Po Box 569100, Dallas, TX 75356-9100
12677087        *P++             UPLIFT INC, 5301 KIETZKE LN STE 200, RENO NV 89511-2083, address filed with court:, Uplift, Inc., 801 El Camino Real,
                                 Menlo Park, CA 94025
12677088        *                Walmart Credit Services/Capital One, Attn: Bankruptcy, PO Box 30285, Salt Lake City, UT 84130-0285
12677089        *+               World Finance Corp, 114 Farquhar Suite 104, Navasota, TX 77868-3687

TOTAL: 1 Undeliverable, 38 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 27, 2024                                        Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 25, 2024 at the address(es) listed below:
Name                             Email Address
Diane Wade Sanders
                                 on behalf of Creditor Hidalgo County austin.bankruptcy@publicans.com

Hiram A Gutierrez
                                 on behalf of Creditor City of Penitas edinburgbankruptcy@pbfcm.com hidalgolegal@ecf.courtdrive.com

John Kurt Stephen
                                 on behalf of Creditor Texas Regional Bank as Custodian for Jon Gillespie IRA kurt@kstephenlaw.com,
                                 myecfmail5@gmail.com;veronica@kstephenlaw.com;Vicky@kstephenlaw.com

Nikie Lopez-Pagan
                                 on behalf of Plaintiff Rosa M. Barrera Nikie.Lopez-Pagan@bakerassociates.net
                                 courtdocs@bakerassociates.net;i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;bakerassociates@j
                                 ubileebk.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@bakerassociates.net

Nikie Lopez-Pagan
                                 on behalf of Debtor Rosa M. Barrera Nikie.Lopez-Pagan@bakerassociates.net
                                 courtdocs@bakerassociates.net;i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;bakerassociates@j
                                 ubileebk.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@bakerassociates.net

Reese W Baker
                                 on behalf of Plaintiff Rosa M. Barrera courtdocs@bakerassociates.net
                                 i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;reese.baker@bakerassociates.net;bakernotices@g
                                 mail.com;baker5151calendar@gmail.com;staff@bakerassociates.net;bakerassociates@jubileebk.net

Reese W Baker
                                 on behalf of Debtor Rosa M. Barrera courtdocs@bakerassociates.net
                                 i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;reese.baker@bakerassociates.net;bakernotices@g
                                 mail.com;baker5151calendar@gmail.com;staff@bakerassociates.net;bakerassociates@jubileebk.net

US Trustee
                                 USTPRegion07.SN.ECF@usdoj.gov

Yvonne V Valdez
                                 ecfmail@ch13cctx.com


TOTAL: 9
